Case 1:22-cv-11009-RGS Document 75-18 Filed 10/10/23 Page 1 of 4




                EXHIBIT 5
            Case 1:22-cv-11009-RGS Document 75-18 Filed 10/10/23 Page 2 of 4

Scheduling the October 11 depositions and a 7.1 call for tomorrow
Jessie Rossman <JRossman@aclum.org>
Tue 10/3/2023 8:06 PM
To:Randall Maas <randall.maas@boston.gov>;edward.whitesell@boston.gov
<edward.whitesell@boston.gov>
Cc:Valenti, Alexandra D <AValenti@goodwinlaw.com>;Potkay, Christine
<CPotkay@goodwinlaw.com>;Bartlett, Wrenne <WBartlett@goodwinlaw.com>;Ginther, Matthew
<MGinther@goodwinlaw.com>;Montes, Gabriella <GMontes@goodwinlaw.com>;Knight, Jeremy
<JKnight@goodwinlaw.com>;Adriana Lafaille <ALafaille@aclum.org>;Isabel Burlingame
<IBurlingame@aclum.org>;Kirsten Mayer <KMayer@aclum.org>;Jessie Rossman <JRossman@aclum.org>
Randall and Ted,

We are available to take the depositions of Lyndon and Higgins on the 11th. As you flagged in your
email, we noted that you changed the language of a few of the 30b6 topics to which they will each testify.
As to Lyndon, please confirm that the term "booking" will encompass cell checks as well as what occurs
in the booking area itself (this matches the deposition testimony that cell checks are a part of the booking
officer's responsibility). As to Higgins, please confirm that the phrase "members of the public with whom
the police come in contact" will include people who are held in BPD custody in BPD police stations as
well as people with whom the police come in contact on the street. Similarly, please confirm that Higgins
will be able to testify to any policies, practices and training regarding opioids that is provided by the
BPD.

We are also reaching out to discuss several outstanding discovery matters. We would like to schedule a
7.1 conference for tomorrow afternoon to discuss the items below, as if we are unable to reach an
agreement on these matters by Friday, we will need to file a motion to compel to preserve our rights in
light of the pending fact discovery deadline of October 27. We are available to speak between 2-4
tomorrow (Wednesday) -- please let us know if you are able to speak during this time frame, or if not,
please propose alternative times.

With respect to outstanding individual fact witnesses and defendants, please provide us with potential
dates for the continuation of Cpt. Sweeney's deposition and Officer Picarello's deposition -- which we
understand will have to occur when he is back in the country -- before which time we will need to have
Officer Picarello's interrogatory and RFP responses.

With respect to the outstanding 30b6 topics, we have narrowed our requests to the following:

       Topics 1(J), 3, 6: Regarding the investigations into in custody deaths (both in general and with
      respect to Geigel and Stilphen), please identify the witness(es) who have already testified that you
      will designate as 30b6 witness(es) for the purpose of these topics, and please identify a 30b6
      witness who can testify to Geigel's homicide unit investigation (as no deponents has testified to this
      investigation thus far) and the dates on which they are available.

      Topics 7, 8 and 9: Please either provide the documentation that answers these respective topics, or
      identify deponents who can speak to these topics and the dates on which they are available.

      Topic 10: Please identify a deponent who can speak to this topic and the dates on which they are
      available.

      Topic 11 & 12: Please either provide confirmation that no one else spoke with the City or SCDAO
      regarding Geigel and Stilphen other than individuals who have already been deposed and that the
      City does not have methods for tracking, compiling or reviewing incidents of in custody death and
               Case 1:22-cv-11009-RGS Document 75-18 Filed 10/10/23 Page 3 of 4
         illness, or identify deponents who can speak to these topics and the dates on which they are
         available.

         Topic 20: Please either confirm that the City will stipulate to the authenticity of the documents its
         produced or identify a deponent who can speak to this topic and the dates on which they are
         available.

With respect to our outstanding document requests, we have narrowed our requests to the following:

         Request No. 7 to the City seeks the production of documents concerning complaints alleging denial
         of medical care or treatment of a person held in BPD custody and records of the investigation and
         adjudication of those complaints since January 1, 2014. The City indicated during the May 15,
         2023 conference that it would perform a good faith inquiry of how it could go about obtaining and
         producing all citizen complaints alleging denial of medical care or treatment of persons held in
         BPD custody and any investigations arising from those complaints. Please either produce all
         citizen complaints alleging denial of medical care or treatment of persons held in BPD custody and
         any investigations arising from those complaints, between July 14, 2017 and July 14, 2019, or
         stipulate that the City does not retain these documents.

         Request No. 14 to the City seeks the production of documents sufficient to show the number of
         people in BPD custody requiring treatment or medical care due to suspected and/or confirmed drug
         intoxication, over-intoxication, and/or overdose since January 1, 2014. The City represented
         during the May 15, 2023 conference that it would produce information sufficient to show the
         number of times officers at District D-4 administered Narcan if that information was available to
         the City. To that end, the City stated that it would investigate whether BPD is required to, and
         does, send reports to BSAS and/or DPH each time it administers Narcan. Please either produce all
         such reports, between July 14, 2017 and July 14, 2019, or stipulate that the City does not retain
         these documents.


         Request No. 15 to the City seeks the production of documents sufficient to show the number of
         people in BPD custody requiring treatment or medical care due to illness, a medical condition,
         and/or injury since January 1, 2014. The City represented during the May 15 meeting that it would
         perform a good faith inquiry about producing CAD reports that document when an EMT was
         called to D4. Discovery has confirmed that evidence responsive to these Requests exists, as the
         City has already produced some “Boston EMS Run Call(s)” containing information for why EMS
         was called to D-4, though those documents only concerned Mr. Geigel and Mr. Stilphen.
         Please produce all such documents for D4 calls between July 14, 2017 and July 14, 2019.

         BPD officers provided testimony that COB000261 was used, among other things, as part of BPD’s
         ongoing education series for Officers and that these presentations were associated with quizzes
         where Officers were tested for their comprehension of the material presented. McCabe Depo Tr. at
         16:23-17:16; Chrispin Depo. Tr. at 52:15-20. Although these quizzes are responsive to Request
         No. 11, they have not yet been produced. Please produce these quizzes.

Finally, during Officer Bertocchi’s deposition we became aware that attorney Ken Anderson
communicated with at least Sergeant Detective Taxter at BPD in relation to Officer Bertocchi’s form 26
report relating to the death of Shayne Stilphen. We understood from our discussion at Officer Bertocchi’s
deposition that you would look into whether any written communications between Ken Anderson and
Sergeant Detective Taxter exist, and if so, that you would produce them. Please either produce the
responsive documents or confirm that no such documents exist.

Best,
Jessie
                Case 1:22-cv-11009-RGS Document 75-18 Filed 10/10/23 Page 4 of 4
______________________________________
Jessie Rossman
Pronouns: she/her/hers


Managing Attorney
American Civil Liberties Union Foundation of Massachusetts
617.482.3170 x337 | jrossman@aclum.org
aclum.org




This message may contain information that is confidential or legally privileged. If you are not the intended recipient, please immediately advise the sender

by reply email that this message has been inadvertently transmitted to you and delete this email from your system.
